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   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0061-JAM
12                                Plaintiff,            STIPULATION AND ORDER TO CONTINUE
                                                        STATUS CONFERENCE
13                          v.
                                                        Date: November 13, 2018
14   ANDRE RAMON WASHINGTON,                            Time: 9:15 a.m.
     ROLAND ADRIAN JUFIAR, and                          Judge: Hon. John A. Mendez
15   DAVID GARCIA ROMERO,
16                                Defendants.
17

18          Plaintiff United States of America, through its respective counsel, and defendants Andre Ramon

19 Washington, Roland Adrian Jufiar, and David Garcia Romero, through their counsel of record, stipulate

20 that the status conference now set for November 13, 2018, be continued to January 22, 2019, at 9:15 a.m.

21          On March 29, 2018, all three defendants were arraigned on the ten-count Indictment in this case.

22 (ECF Nos. 16, 19.) In the weeks following, the government produced discovery to the defense that

23 included over 530 pages of reports and memoranda, roughly 565 photos, and other items. In the coming

24 weeks, the government will be producing an additional set of materials that includes toll records from

25 throughout the investigation. Defense counsel for all three defendants will require additional time to

26 review these new materials, as well as the materials already produced, time to discuss them with their

27 clients, to conduct research into potential suppression issues or motions to dismiss, to conduct additional

28 investigation, and to otherwise prepare for trial.

      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       1
      STATUS CONFERENCE
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 1          Based on the foregoing, the parties stipulate that the status conference now set for November 13,

 2 2018, be continued to January 22, 2019, at 9:15 a.m. The parties further agree that time under the Speedy

 3 Trial Act should be excluded from the date the parties stipulated, up to and including January 22, 2019,

 4 under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General Order 479 [Local

 5 Code T4], based on continuity of counsel and defense preparation.

 6          The parties agree that the failure to grant a continuance in this case would deny defense counsel

 7 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

 8 The parties also agree that the ends of justice served by the Court granting the requested continuance

 9 outweigh the best interests of the public and the defendants in a speedy trial.

10                                                       Respectfully submitted,

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12 Dated: November 8, 2018                               _/s/ Timothy H. Delgado____________
                                                         TIMOTHY H. DELGADO
13                                                       Assistant United States Attorney
                                                         Attorney for Plaintiff United States
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15 Dated: November 8, 2018                               _/s/ THD for David W. Dratman_____
                                                         DAVID W. DRATMAN
16                                                       Attorney for Defendant Andre Washington
17
     Dated: November 8, 2018                             _/s/ THD for Megan Virga__________
18                                                       MEGAN VIRGA
                                                         Attorney for Defendant Roland Jufiar
19

20 Dated: November 8, 2018                               _/s/ THD for Ronald J. Peters________
                                                         RONALD J. PETERS
21                                                       Attorney for Defendant David Romero
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28                                                   ORDER

      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       2
      STATUS CONFERENCE
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 1          The Court, having received and considered the parties’ stipulation, and good cause appearing

 2 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 3 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 4 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of

 5 justice served by granting the requested continuance outweigh the best interests of the public and the

 6 defendants in a speedy trial.

 7          The Court orders that the time from the date the parties stipulated, up to and including January

 8 22, 2018, shall be excluded from computation of time within which the trial in this case must begin under

 9 the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General

10 Order 479 [Local Code T4]. It is further ordered that the November 13, 2018 status conference be

11 continued until January 22, 2019, at 9:15 a.m.

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13 Dated: November 8, 2018                                 /s/ John A. Mendez_____________
                                                           Hon. John A. Mendez
14                                                         United States District Court Judge
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE         3
      STATUS CONFERENCE
